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1      Richard Morin (SBN 285275)
2
       Law Office of Rick Morin, PC
       500 Newport Center Drive Suite 610
3      Newport Beach, CA 92660
4      Phone: (949) 996-3094
       Email: legal@rickmorin.net
5
6      Attorney for Plaintiff
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8
                               UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
10
11
       Jerry James Couchman Jr.,                     Case No. '22CV0873 TWR WVG
12
13                   Plaintiff,                      COMPLAINT
              v.
14
15     Palms of La Mesa Apartments LLC,
16
                     Defendant.
17
18            Plaintiff Jerry James Couchman Jr. (“Plaintiff”) alleges:
19                                         INTRODUCTION
20            1.     Plaintiff brings this action against Palms of La Mesa Apartments LLC
21     (“Defendant”) for unlawfully and intentionally discriminating against Plaintiff because
22     of Plaintiff’s disability/handicap and denying Plaintiff equal access to the facilities
23     located at the commonly known address 7487 Mohawk Street La Mesa, CA 91942
24     (“Facility”), including the common areas, Defendant’s office at the address, and
25     Plaintiff’s leased unit.
26                                              PARTIES
27            2.     Plaintiff is a natural person. At all times relevant to this Complaint, Plaintiff
28     is and has been considered disabled and handicap.
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                                                COMPLAINT
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1             3.     Defendant owns, manages, and/or operates the Facility.
2                                           THE FACILITY
3             4.     The Facility is an apartment complex, known as Palms of La Mesa, which
4      consists of real property that includes buildings, structures, or portions there of that are
5      or are intended for occupancy as a residence by one or more families, including
6      Plaintiff’s unit, in addition to common areas, such as on-site laundry, and the
7      Defendant’s leasing office that is open to the public.
8                                   JURISDICTION AND VENUE
9             5.     The Court has subject matter jurisdiction over the action pursuant to 28
10     U.S.C. §§ 1331 and 1343(a)(3) & (a)(4).
11            6.     Pursuant to supplemental jurisdiction, 28 U.S.C. § 1367, attendant and
12     related causes of action, arising from the same nucleus of operative facts and arising out
13     of the same transactions, are also brought under California state law.
14            7.     Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is founded
15     on the fact that the property is within this judicial district and Plaintiff’s cause of action
16     arose in this district.
17                                   FACTUAL ALLEGATIONS
18            8.     Plaintiff is a veteran who suffers from a disability, and/or medical
19     conditions that is a disability.
20            9.     Plaintiff suffers from, among other things, an injured back and knees, which
21     have active and on-going symptoms that impact his mobility and ability to reach things
22     on the ground, such things that he may drop. Plaintiff also suffers from severe depression
23     that materially impacts his ability to sleep.
24            10.    Plaintiff’s symptoms limit, some substantially, Plaintiff’s major life
25     activities.
26            11.    Plaintiff utilizes a service dog to help address the challenges resulting from
27     his disabilities, which Plaintiff deals with on a daily basis.
28            12.    Plaintiff’s service dog is specifically trained in tasks to assist Plaintiff and
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                                                COMPLAINT
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1      ameliorate the symptoms of his disability, including, but not limited to, picking up items
2      that Plaintiff drops, such as laundry, and alerting and calming Plaintiff when Plaintiff is
3      suffering from a nightmare or night terror.
4             13.   When Plaintiff and his service dog are outside of their home, Plaintiff’s
5      service dog remains under Plaintiff’s positive control at all times.
6             14.   When Plaintiff moved into Palms of La Mesa in January 2022, he informed
7      the apartment management of his service dog. Defendant did not inform Plaintiff of any
8      special considerations regarding his service dog.
9             15.   On or about April 5, 2022, an employee of Defendant or Defendant’s agent-
10     property-manager, angrily and aggressively threatened to call the Humane Society and
11     have them take Plaintiff’s service dog in addition to threatening to give Plaintiff a 3-day
12     notice to vacate because of his service dog.
13            16.   On May 20, 2022, Defendant served Plaintiff with a Three Day Notice to
14     Perform Conditions and/or Covenants or Quit, threatening Plaintiff with eviction
15     because of his service dog. Defendant demanded that Plaintiff take steps with regard to
16     his service dog that would reduce, if not eliminate, his service dog’s ability to assist
17     Plaintiff with his disability, particularly whenever Plaintiff would be in the common
18     areas of the Facility or Defendant’s office.
19            17.   On June 13, 2022, Defendant served Plaintiff with a Sixty Day Notice of
20     Termination of Tenancy. The notice directly references the presence of Plaintiff’s
21     service animal and makes materially false and misleading claims regarding his service
22     animal as pretext for the eviction. The notice threatens specific legal action against
23     Plaintiff.
24            18.   Plaintiff would like to continue to live at the Facility.
25            19.   Plaintiff has been injured as result of Defendants conduct, including, but
26     not limited to, emotional distress, frustration, and embarrassment.
27     //
28     //
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                                               COMPLAINT
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1                                    FIRST CAUSE OF ACTION
2                           Violations of the Americans with Disabilities Act
3                                      42 U.S.C. § 12101, et seq.
4             20.    Plaintiff incorporates all prior paragraphs as if fully stated herein.
5             21.    Title III of the ADA bans disability discrimination against an individual in
6      places of public accommodation. The ADA states that “no individual shall be
7      discriminated against on the basis of disability in the full and equal enjoyment of the
8      goods, services, facilities, privileges, advantages, or accommodations of any place of
9      public accommodation by any person who owns, leases (or leases to), or operates a place
10     of public accommodation.”
11            22.    The Facility, including the apartment complex, Defendant’s office, and the
12     common-area, or a subset thereof, is a public accommodation.
13            23.    The Facility, including the apartment complex, Defendant’s office, and the
14     common-area, or a subset thereof, affect(s) interstate commerce.
15            24.    The ADA prohibits, among other types of discrimination, failure to make
16     reasonable modifications in policies, practices, or procedures when such modifications
17     are necessary to afford such goods, services, facilities, privileges, advantages, or
18     accommodations to individuals with disabilities.
19            25.    Defendant has a policy that restricts and denies access to persons like
20     Plaintiff.
21            26.    Defendant’s conduct knowingly and willfully excluded Plaintiff from equal
22     access to their facilities.
23            27.    Indeed, Defendant has threatened and began steps to evict Plaintiff because
24     of his disability.
25            28.    As a result of Defendant’s conduct, denying Plaintiff equal access to the
26     Facility, Plaintiff continues to suffer denial of access and faces unpleasant and
27     discriminatory treatment.
28            29.    It is readily achievable for Defendant to provide Plaintiff and other disabled
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                                                COMPLAINT
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1      people like Plaintiff full and equal access to the facilities.
2               30.   Defendant does not have any legitimate business justification to excuse the
3      denial of Plaintiff’s equal access.
4               31.   Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of the
5      Civil Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal Regulations
6      adopted to implement the Americans with Disabilities Act of 1990.
7               32.   Plaintiff is a qualified disabled person for purposes of the ADA who is
8      being subjected to discrimination on the basis of disability in violation of Title III, who
9      is in the process of being evicted by Defendant, and has reasonable grounds for believing
10     he will continue to be subjected to such discrimination.
11              33.   Defendant’s acts have proximately caused and will cause irreparable injury
12     to Plaintiff if not enjoined by this Court.
13              34.   Plaintiff seeks injunctive relief as to Defendant’s inaccessible policies.
14     Plaintiff seeks preliminary and permanent injunctive relief to enjoin and eliminate the
15     discriminatory practices that deny full and equal access for disabled persons. Further,
16     Plaintiff seeks an award of reasonable statutory attorney fees, litigation expenses, and
17     costs.
18                                  SECOND CAUSE OF ACTION
19                                   Denial of Full and Equal Access
20                                        Civ. Code §§ 54 et seq.
21              35.   Plaintiff incorporates all prior paragraphs as if fully stated herein.
22              36.   The Facility, including the apartment complex, Defendant’s office, and the
23     common-area, or a subset thereof, is an accommodation, public accommodation, or other
24     place to which the general public is invited.
25              37.   Defendants denied and interfered with Plaintiff’s ability to equally access
26     the Facility, including the apartment complex, Defendant’s office, and the common-
27     area, or a subset thereof.
28              38.   Plaintiff wishes to fully utilize the Facility, including the apartment
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                                                 COMPLAINT
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1      complex, Defendant’s office, and the common-area, or a subset thereof but is presently
2      being denied access and faces significant policy barriers that will foreseeably cause
3      Plaintiff further difficulty, discomfort, and embarrassment. Plaintiff is unable, so long
4      as such acts and omissions of Defendants continues, to achieve equal access to and use
5      of the Facilities.
6             39.    As a result of the denial of full and equal access to the described facilities
7      and due to the acts and omissions of Defendant, Plaintiff has suffered a violation of
8      Plaintiff civil rights, including but not limited to rights under Civil Code sections 54 and
9      54.1, and has suffered difficulty, discomfort and embarrassment, and physical, mental
10     and emotional personal injuries.
11            40.    Defendant’s actions and omissions constitute discrimination against
12     Plaintiff.
13            41.    Plaintiff has been damaged by Defendant’s wrongful conduct.
14            42.    At all times herein mentioned, Defendant was fully aware that significant
15     numbers of potential users of the facilities were, are, and will be disabled persons, and
16     would have need of facilities that complied with California Title 24 and ADA Standards
17     for Accessible Design standards for accessible facilities.
18            43.    Despite this knowledge, Defendant installed and maintained the policy
19     barriers complained of, have failed to remove these unlawful policies, and have failed
20     to provide and maintain properly accessible facilities as required by law.
21            44.    Plaintiff believes Defendant has ignored complaints about the lack of
22     proper disabled access by other disabled persons.
23            45.    Defendant has continued its illegal and discriminatory practices despite
24     actual knowledge that persons with disabilities may attempt to use the facilities and
25     encounter illegal policy barriers which deny them full and equal access when they do
26     so.
27            46.    At all times herein mentioned, Defendant knew, or in the exercise of
28     reasonable diligence should have known, that their practices at the facilities violated
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                                               COMPLAINT
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1      disabled access requirements and standards, and would have a discriminatory effect
2      against Plaintiff and upon other disabled persons, but Defendant has failed to rectify the
3      violations, and presently continue a course of conduct of maintaining policy barriers that
4      discriminate against Plaintiff and similarly situated disabled persons. For the foregoing
5      reasons, Plaintiff alleges that an award of statutory treble damages is appropriate.
6            47.    Defendant’s behavior was intentional.
7            48.    Plaintiff believes Defendant was aware and/or were made aware of its
8      duties to refrain from establishing discriminatory policies against disabled persons, prior
9      to the filing of this complaint.
10           49.     Defendant’s establishment of its discriminatory policy denying access to
11     disabled persons to safely have full and equal access to the facilities, and their
12     implementation of such a discriminatory policy against Plaintiff, indicate actual and
13     implied malice toward Plaintiff and conscious disregard for Plaintiff’s rights.
14           50.    Plaintiff prays for injunctive relief that prohibits the acts complained of
15     herein, which have the effect of wrongfully excluding Plaintiff and other members of
16     the public who are disabled from full and equal access to these facilities. Such acts and
17     omissions are the cause of mental and emotional suffering for Plaintiff.
18           51.    Plaintiff seeks injunctive relief as to Defendant’s inaccessible policies.
19     Plaintiff seeks preliminary and permanent injunctive relief to enjoin and eliminate the
20     discriminatory practices that deny full and equal access for disabled persons.
21           52.    Plaintiff seeks recovery of all reasonable attorney fees, litigation expenses,
22     and costs.
23           53.    Additionally, Plaintiff’s lawsuit is intended to require that Defendant make
24     its facilities accessible to all disabled members of the public, justifying “public interest”
25     attorney fees, litigation expenses and costs pursuant to the provisions of California Code
26     of Civil Procedure section 1021.5 and other applicable law.
27           54.    Plaintiff’s suffered damages as described are a result of Defendant’s
28     violations. Damages are ongoing. Plaintiff remains hesitant and apprehensive about
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                                               COMPLAINT
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1      accessing the common area and amenities of the Facility and is presently facing potential
2      eviction by Defendant because of his disability. Plaintiff seeks the relief that is afforded
3      by Civil Code sections 54, 54.1, and 54.3, including treble damages.
4                                   THIRD CAUSE OF ACTION
5                              Violations of the Unruh Civil Rights Act
6                                   California Civil Code §§ 51-53
7            55.    Plaintiff hereby incorporates the previous paragraphs as if they had been
8      fully stated herein.
9            56.    The Facility, including the apartment complex, Defendant’s office, and the
10     common-area, or a subset thereof, is a business establishment.
11           57.    Defendants intentionally discriminated against Plaintiff, denying Plaintiff
12     full and equal access to the Facility, including the apartment complex, Defendant’s
13     office, and the common-area, or a subset thereof.
14           58.    Defendants’ acts and omissions as specified with regard to the
15     discriminatory treatment of Plaintiff, on the basis of Plaintiff’s disabilities, have been in
16     violation of California Civil Code §§ 51 and 51.5, the Unruh Civil Rights Act, and have
17     denied to Plaintiff’s right to full and equal accommodations, advantages, facilities,
18     privileges, or services in all business establishments of every kind whatsoever.
19           59.    Plaintiff was harmed.
20           60.    Defendant’s conduct was a substantial factor in causing Plaintiff’s harm.
21           61.    Alternatively, the Unruh Act also provides that a violation of the ADA is a
22     violation of the Unruh Act. Cal. Civ. Code 51(f), so Defendant has violated the Unruh
23     Act by violating the ADA.
24           62.    As a result of the violation of Plaintiffs civil rights protected by California
25     Civil Code §§ 51 and 51.5, Plaintiff is entitled to the rights and remedies of California
26     Civil Code § 52, including a trebling of actual damages, minimum statutory damages,
27     as well as reasonable attorneys’ fees and costs, as allowed by statute, according to proof,
28     and Plaintiff seeks the same.
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                                               COMPLAINT
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1                63.   Plaintiff also seeks to enjoin Defendant from violating disabled persons’
2      rights.
3                                    FOURTH CAUSE OF ACTION
4                      Violations of the California Fair Employment and Housing Act
5                                     Cal. Gov. Code §§ 12900 et seq.
6                64.   Plaintiff incorporates paragraphs as if fully stated herein.
7                65.   The Facility, or a portion thereof, was a housing accommodation.
8                66.   Defendant leases and has leased buildings or structures, or a portion
9      thereof, occupied as or designed or intended for occupancy as a residence by one or more
10     families.
11               67.   It is unlawful for Defendants to discriminate against Plaintiff because of
12     Plaintiff’s disability.
13               68.   Defendants intentionally discriminated against Plaintiff based on Plaintiff’s
14     disability by denying Plaintiff full and equal access.
15               69.   Alternatively, Defendant’s policy of denying persons with service animals
16     full and equal access had a discriminatory effect against people with disabilities, such as
17     Plaintiff.
18               70.   Moreover, Defendant’s actions constitute harassment.
19               71.   Defendant has refused to provide a reasonable accommodation to Plaintiff
20     as requested.
21               72.   Plaintiff has been injured as result of Defendant’s conduct, including, but
22     not limited to, emotional distress, difficulty, and embarrassment.
23               73.   Plaintiff seeks actual damages, punitive damages, an injunction, reasonable
24     attorney’s fees and costs, including expert witness fees if applicable, and any other such
25     relief the court deems appropriate.
26     //
27     //
28     //
                                                      9
                                                  COMPLAINT
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1                                   FIFTH CAUSE OF ACTION
2                                  Violations of the Fair Housing Act
3                                       42 U.S.C. §§ 3601 et seq.
4             74.    Plaintiff incorporates paragraphs as if fully stated herein.
5             75.    The Facility, or a portion thereof, was a dwelling.
6             76.    Plaintiff’s service dog was an assistance animal.
7             77.    Plaintiff is handicapped.
8             78.    Defendant leases and has leased buildings or structures, or a portion
9      thereof, occupied as or designed or intended for occupancy as a residence by one or more
10     families.
11            79.    Defendant discriminated against Plaintiff in the terms, conditions, and/or
12     privileges in the rental of the dwelling because of Plaintiff’s handicap, including refusing
13     to make reasonable accommodation in rules, policies, practices, and/or services when
14     such accommodations are necessary to afford Plaintiff equal opportunity to use and
15     enjoy a dwelling.
16            80.    Moreover, Defendant’s actions constitute harassment.
17            81.    Lastly, Defendant has refused to engage in an interactive process to discuss
18     Plaintiff’s disability-related need for accommodation and possible alternative
19     accommodations.
20            82.    Plaintiff seeks actual damages, punitive damages, an injunction, reasonable
21     attorney’s fees and costs, including expert witness fees if applicable, and any other such
22     relief the court deems appropriate.
23                                               PRAYER
24            Plaintiff hereby prays for the following:
25            1.     Injunctive relief compelling Defendant to cease their discrimination against
26     disabled persons and remove all accessibility policy barriers that relate to Plaintiff’s
27     disability;
28            2.     Damages including actual damages in an amount to be proven at trial, in no
                                                    10
                                                 COMPLAINT
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1      event less than $4,000, or the applicable minimum statutory damages, whichever is
2      greater;
3            3.    Punitive damages;
4            4.    Attorney’s fees pursuant to 42 U.S.C. §§ 3613, 12205, Civil Code sections
5      §§ 52, 54 12983, Code of Civil Procedure section 1021.5 and/or other statute;
6            5.    Expenses;
7            6.    Costs of suit; and
8            7.    Other relief that the court deems appropriate.
9            Dated: June 15, 2022                         Law Office of Rick Morin, PC
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11                                                        _________________________
12                                                        By: Richard Morin
                                                          Attorney for Plaintiff
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